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Respond to Albany O ffice


                                             February 3, 2009


Honorable Gary L Sharpe
United States District Judge
100 S. Clinton Street
Syracuse, NY 13261

           Re:           USA v. Efrain Montano-Ruiz
                         Case No.: 08-CR-766 (GLS)


Dear Judge Sharpe:

        The defendant, Efrain Montano-Ruiz presents today for a change of plea and sentencing
with regard to the single count Indictment alleging a violation of Title 18 U.S.C. §1546(a), fraud
and misuse of visa, permits, and other documents. Efrain Montano-Ruiz intends to admit to the
elements which will establish a factual basis for his conviction. The United States has agreed to
accept this plea in satisfaction of all possible charges within the Northern District of New York
known to them including, but not limited to identity theft.

        He has been informed and will waive his constitutional rights for a jury trial and the right
to remain silent. If the Court accepts his change of plea, the defendant seeks to move the Court
to waive a presentence investigation pursuant to Fed. R.Crim.Pro. 32(c)(1)(A)(ii) and proceed
directly to sentencing.

        Mr. Efrain Montano-Ruiz acknowledges that the maximum sentence is ten years of
imprisonment and the advisory sentencing guideline is 0-6 months. Specifically, that pursuant to
the U.S.S.G. § 2L2.2(a), he is a base offense level 8. He is a Criminal History Category I
resulting in an advisory sentencing guideline range of 0 to 6 months. Accordingly, Mr. Efrain
Montano-Ruiz moves for immediate sentencing and requests this Court to order a sentence of
time served. Mr. Efrain Montano-Ruiz is aware that he will be deported immediately following
the service of whatever federal sentence he receives.
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        In further support for a sentence of time served and Fed. R.Crim.Pro. 32(c)(1)(A)(ii), Mr.
Efrain Montano-Ruiz offers the following.1 Mr. Efrain Montano-Ruiz Cordova has no criminal
history in the United States and no convictions in his home country of Mexico. He is 33-years-
old, married and the father of one son four months old. His wife and child live in Mexico. Efrain
Montano-Ruiz was gainfully employed as a computer hardware engineer working for CHE
Consulting based in Frenton, Missouri for the past seven years. (See attached letter from CHE
Consulting attached). He would visit his wife or she would travel to Arizona ever two months.

        Efrain Montano-Ruiz is an educated and highly skilled computer engineer. He was not
only an outstanding employee but admired for his qualities as a human being. Clearly it the
opinion of all that knew and worked with at CHE, that he will be greatly missed. Although he
assumed the identity for employment purposed, he never used the identity to obtain credit,
barrow money or commit fraud. In fact, he did not file for tax refunds for the years he worked
for CHE because he felt that the money was not his. He knew what working in the United States
under an false identity was wrong, but his actions over the past several years speak volumes for
his character and good intentions while working here in the United States.

         Based on the foregoing, Mr. Efrain Montano-Ruiz seeks a sentence of time served as it is
within the Federal Sentencing Guidelines and further is sufficient but not greater than necessary
to satisfy the provisions of Title 18 USC § 3553(a).

                                     Respectfully submitted,

                                     /s/ Gene V. Primomo
                                         Gene V. Primomo
                                Assistant Federal Public Defender




       1
         Efrain Montano-Ruiz consented to an interview with U.S. Probation on December 29,
2009. Although the interview was for purposes of bail, much of his background information is
relevant for purposes of sentencing and should be considered by the Court.
